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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                     COVINGTON

  DANNY REECE, LORA PICONE,                      )
  JHEFF PICONE, ROBERT PRESSER,                  )
  MAGGIE PRESSER, DEBORAH KITTS,                 )             Civil No. 15-70-ART
  JAMES BREETZ, DONNA BREETZ,                    )             Civil No. 15-71-ART
  GREGORY GORDON, MISTY                          )             Civil No. 15-73-ART
  GASKINS, DELANA WHEATON,                       )             Civil No. 15-75-ART
  DOUGLAS GABBARD, and LANA                      )             Civil No. 15-76-ART
  GABBARD,                                       )             Civil No. 15-84-ART
                                                 )             Civil No. 15-85-ART
         Plaintiffs,                             )             Civil No. 15-92-ART
                                                 )             Civil No. 15-94-ART
  v.                                             )
                                                 )
  WEST CHESTER HOSPITAL, LLC, et                 )
  al.,                                                                ORDER
                                                 )
          Defendants.                            )
                                                 )
                                                 )

                                        *** *** *** ***
        The parties have reached a settlement of all claims in this case. The parties have

 therefore filed a stipulation of dismissal of all remaining claims against defendants Abubakar

 Aitq Durrani, M.D. and Center for Advanced Spine Technologies. E.g., R. 134. A “plaintiff

 may dismiss an action without a court order by filing: . . . a stipulation of dismissal signed by

 all parties who have appeared.” Fed. R. Civ. P. 41(a)(1)(A)(ii). Dismissal is without

 prejudice unless the stipulation states otherwise. Fed. R. Civ. P. 41(a)(1)(B). Here, the

 stipulation requested dismissal with prejudice and was signed by counsel for all parties that

 have appeared to date. E.g., R. 134.

        Accordingly, it is ORDERED as follows:
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       (1)    The parties’ request for voluntary dismissal with prejudice is GRANTED.

       (2)    This matter is DISMISSED WITH PREJUDICE.

       (3)    All pending deadlines are CANCELLED.

       (4)    The Clerk shall STRIKE this matter from the Court’s active docket.

       (5)    The Clerk shall file a copy of this order in each of the above captioned cases.

       This the 11th day of July, 2016.




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